Case 1:05-cr-00189-SOM     Document 116   Filed 10/18/06   Page 1 of 2 PageID.246



                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI`I

UNITED STATES OF AMERICA,      )           CR NO. 05-00189-03 DAE
                               )
               Plaintiff,      )           REPORT AND RECOMMENDATION
     vs.                       )           CONCERNING PLEA OF GUILTY
                               )
SHAWNA KAULUKUKUI (03),        )
                               )
               Defendant.      )
______________________________ )


                            REPORT AND RECOMMENDATION
                            CONCERNING PLEA OF GUILTY

                The defendant, by consent, has appeared before me pursuant

to Rule 11, Fed.R.Crim.P., and has entered a plea of guilty to Counts

1 and 16 of the Indictment.        After examining the defendant under oath,

I determined that the defendant is fully competent and capable of

entering an informed plea, that the guilty plea was intelligently,

knowingly and voluntarily made, and that the offense charged is

supported by an independent basis in fact establishing each of the

essential elements of such offense.          I further determined that the

defendant intelligently, knowingly and voluntarily waived the right to

appeal or collaterally attack the sentence except as provided in the

plea agreement.        I therefore recommend that the plea of guilty be

accepted and that the defendant be adjudged guilty and have sentence

imposed accordingly.

                IT IS SO RECOMMENDED.




GUILTY.R&R-PA
Case 1:05-cr-00189-SOM     Document 116     Filed 10/18/06   Page 2 of 2 PageID.247



                DATED: Honolulu, Hawai`i, October 17, 2006.



                                     /S/ Leslie E. Kobayashi
                                    Leslie E. Kobayashi
                                    United States Magistrate Judge




                                          NOTICE

     Failure to file written objections to this Report and
Recommendation within ten (10) days from the date of its service shall
bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. §
636(b)(1)(B).




U.S.A. vs. SHAWNA KAULUKUKUI; CR NO. 05-00189-03 DAE; REPORT AND
RECOMMENDATION CONCERNING PLEA OF GUILTY




GUILTY.R&R-PA                              -2-
